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     BOIES SCHILLER FLEXNER LLP                     SUSMAN GODFREY L.L.P.
 1
     David Boies (admitted pro hac vice)            Bill Carmody (admitted pro hac vice)
 2   333 Main Street                                Shawn J. Rabin (admitted pro hac vice)
     Armonk, NY 10504                               Steven M. Shepard (admitted pro hac vice)
 3   Tel: (914) 749-8200                            Alexander Frawley (admitted pro hac vice)
     dboies@bsfllp.com                              1301 Avenue of the Americas, 32nd Floor
 4                                                  New York, NY 10019
     Mark C. Mao, CA Bar No. 236165
                                                    Tel.: (212) 336-8330
 5   Beko Reblitz-Richardson, CA Bar No.
                                                    bcarmody@susmangodfrey.com
     238027
 6                                                  srabin@susmangodfrey.com
     Erika Nyborg-Burch, CA Bar No. 342125
                                                    sshepard@susmangodfrey.com
     44 Montgomery St., 41st Floor
 7                                                  afrawley@susmangodfrey.com
     San Francisco, CA 94104
 8   Tel.: (415) 293-6800                           Amanda K. Bonn, CA Bar No. 270891
     mmao@bsfllp.com                                1900 Avenue of the Stars, Suite 1400
 9   brichardson@bsfllp.com                         Los Angeles, CA 90067
     enyborg-burch@bsfllp.com                       Tel.: (310) 789-3100
10                                                  abonn@susmangodfrey.com
     James Lee (admitted pro hac vice)
11   Rossana Baeza (admitted pro hac vice)          MORGAN & MORGAN
     100 SE 2nd St., 28th Floor                     John A. Yanchunis (admitted pro hac vice)
12   Miami, FL 33131                                Ryan J. McGee (admitted pro hac vice)
13   Tel.: (305) 539-8400                           201 N. Franklin Street, 7th Floor
     jlee@bsfllp.com                                Tampa, FL 33602
14   rbaeza@bsfllp.com                              Tel.: (813) 223-5505
                                                    jyanchunis@forthepeople.com
15   Alison L. Anderson, CA Bar No. 275334
                                                    rmcgee@forthepeople.com
     725 S Figueroa St., 31st Floor
16   Los Angeles, CA 90017                          Michael F. Ram, CA Bar No. 104805
     Tel.: (213) 995-5720                           711 Van Ness Ave, Suite 500
17   alanderson@bsfllp.com                          San Francisco, CA 94102
                                                    Tel: (415) 358-6913
18                                                  mram@forthepeople.com
19                          UNITED STATES DISTRICT COURT
20                        NORTHERN DISTRICT OF CALIFORNIA

21   CHASOM BROWN, WILLIAM BYATT,                      Case No.: 4:20-cv-03664-YGR-SVK
     JEREMY DAVIS, CHRISTOPHER                         PLAINTIFFS’ NOTICE OF MOTION
22   CASTILLO, and MONIQUE TRUJILLO                    AND MOTION TO STRIKE PORTIONS
     individually and on behalf of all other similarly OF GOOGLE’S SUMMARY JUDGMENT
23   situated,                                         REPLY (DKT. 934)
24
                         Plaintiffs,                Judge: Hon. Yvonne Gonzalez Rogers
25      v.                                          Hearing Date: June 6, 2023
                                                    Time: 1:00 p.m.
26   GOOGLE LLC,                                    Location: Courtroom 1 – 4th Floor
                         Defendant.
27

28                                     Plaintiffs’ Motion to Strike Portions of Google’s MSJ Reply
                                                                Case No.: 4:20-cv-03664-YGR-SVK
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 1                                 NOTICE OF MOTION & MOTION
 2            PLEASE TAKE NOTICE that on June 6, 2023,1 the undersigned will appear before the
 3   Honorable Yvonne Gonzalez Rogers of the United States District Court for the Northern District
 4   of California at the Oakland Courthouse, Courtroom 1, 1301 Clay Street, Oakland, CA 94612, to
 5   move the Court to strike portions of Defendant Google, LLC’s (“Google”) Reply in Support of
 6   Motion for Summary Judgment (Dkt. 934). This Motion is based upon this Notice of Motion and
 7   Motion, the incorporated Memorandum of Points and Authorities, the Declaration of Ryan J.
 8   McGee, other documents on file in this action, and other evidence and argument presented to the
 9   Court.
10                                         ISSUE PRESENTED
11            Whether this Court should strike (1) a new argument that Google raised for the first time
12   in its reply brief in support of its motion for summary judgment, and (2) expert declarations cited
13   in Google’s reply which (A) were not cited in Google’s opening brief, (B), were never subject to
14   cross examination, and (C) where Google promised not to rely on this material for any purpose
15   apart from the sanctions proceedings?
16
                                          RELIEF REQUESTED
17
              Plaintiffs respectfully request that the Court strike (1) Google’s technical-circumvention
18
     argument relating to Plaintiffs’ CDAFA claim (Dkt. 934 at 13), and (2) Exhibits 146 and 147 to
19
     the Supplemental Broome Declaration (Dkts. 933-4, 933-5).
20

21   Dated: April 28, 2023                          BOIES SCHILLER FLEXNER LLP
22                                                  By /s/ Mark Mao
                                                    Mark C. Mao (CA Bar No. 236165)
23                                                  mmao@bsfllp.com
24

25
     1
       Plaintiffs are noticing this motion for the default hearing date under the Local Rules, but
26   Plaintiffs are amenable to an expedited briefing schedule, particularly in light of the upcoming
     May 12, 2023 hearing on Google’s motion for summary judgment.
27

28                                       Plaintiffs’ Motion to Strike Portions of Google’s MSJ Reply
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 1   I.     INTRODUCTION

 2          Unhappy with its arguments and evidence, Google resorts to desperate and improper

 3   tactics. First, Google on Reply raises a brand-new argument about Plaintiffs’ CDAFA claim.

 4   Second, Google relies on two expert declarations prepared exclusively for the sanctions

 5   proceedings in this case, which were never subject to discovery (and were instead disclosed more

 6   than six months after the discovery cut-off), and which address material Google promised not to

 7   rely on for any other purpose. The Court has already sanctioned Google (twice) for concealing

 8   logs and data sources, and it improper for Google to rely on these materials.
            A.      Google’s New CDAFA Argument Should Be Stricken.
 9
            Google’s opening summary judgment brief included two arguments for the CDAFA
10
     claim, which Google summarized as follows: “(1) Google did not ‘access’ Plaintiffs’ computers,
11
     and (2) Plaintiffs have not suffered ‘damages or loss.’” Dkt. 907-3 at 22. Google’s reply brief
12
     adds a third argument, which Google concedes is a “separate[]” argument: “Separately, CDAFA
13
     requires that the defendant circumvent[] technical or code-based barriers, or otherwise render
14
     ineffective any barriers . . . to prevent access.” Dkt. 934 at 13 (emphasis added).
15
            This new argument should be stricken. “[Google] could have and should have asserted
16
     this argument in its opening motion. Because [Google] waited and asserted this argument . . . for
17
     the first time in its reply brief, the Court [should] strike[] it.” Groupion, LLC v. Groupon, Inc.,
18
     2012 WL 3025711, at *3 n.3 (N.D. Cal. July 24, 2012) (striking arguments “asserted for the first
19
     time in [the] reply brief”). Google did not even preview this argument during the February 14,
20
     2023 Case Management Conference where the Court walked through Google’s proposed bases
21
     for summary judgment, and the Court thereafter waived its usual pre-filing letter requirements.
22
     Feb. 14, 2023 Hrg. Tr. 30:2-9.
23
            Alternatively, this Court should ignore Google’s new argument. “[P]arties ‘cannot raise
24
     a new issue for the first time in their reply briefs.’” Taymuree v. Nat'l Collegiate Student Loan
25
     Tr. 2007-2, 2017 WL 952962, at *2 n.2 (N.D. Cal. Mar. 13, 2017) (Gonzalez Rogers, J.) (quoting
26

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 1   State of Nev. v. Watkins, 914 F.2d 1545, 1560 (9th Cir. 1990)). It would be “improper for the

 2   Court to consider” Google’s new CDAFA argument because it was “raised for the first time on

 3   reply.” Id.

 4           If the Court is inclined to consider Google’s new argument, it should grant Plaintiffs leave

 5   to file their proposed sur-reply—attached as Exhibit A to the McGee Declaration accompanying

 6   this Motion. “When a party raises a new argument or presents new evidence in a reply brief, a

 7   court may consider these matters only if the adverse party is given an opportunity to respond.”

 8   In re PersonalWeb Techs., LLC, 2019 WL 1975432, at *1 (N.D. Cal. Feb. 6, 2019) (granting

 9   motion for leave to file sur-reply).

10           B.     Google’s Sanctions-Only Evidence Should Be Stricken.

11           This Court should also strike two exhibits that Google cited for the first time in its Reply

12   Statement of Facts: Broome Supplemental Exhibits 146 and 147. Dkt. 933-3 at 30 (PAF 4); Dkts.

13   933-4, 933-5. Exhibit 146 is the November 30, 2022 declaration of Google expert Konstantinos

14   Psounis. Exhibit 147 is Dr. Psounis’s February 10, 2023 declaration. Google prepared these

15   declarations for its response to the Court’s October 27, 2022 Order to Show Cause, where Google

16   was ordered to “show cause as to why the Court should not find that . . . Google should be

17   sanctioned.” Dkt. 784; see also Dkts. 797, 857 (Google’s Responses to the OSC).

18           These exhibits discuss source code that Google produced exclusively for the sanctions

19   proceedings, and long after the close of discovery. The code is from a Google log that stores

20   private browsing data alongside regular browsing data. Google did not disclose this log until June

21   2022—after the close of fact discovery, after expert reports were served, and after the Court

22   sanctioned Google (the first time). See Dkt. 898 (March 2023 Sanctions Order) at 4-5, 7

23   (discussing this “newly-disclosed” log, and finding that it “includes both authenticated and non-

24   authenticated records,” and sanctioning Google (a second time) for concealing this log and other

25   logs). Dr Psounis was not deposed or subjected to any scrutiny on these declarations; Google in

26   fact did not present him at the March 2, 2023 sanctions hearing.

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 1          Exhibits 146 and 147 should be stricken because Google promised not to rely on the

 2   source code except for purposes of responding to the Order to Show Cause. During an October

 3   2022 hearing, the Court advised the parties that the sanctions proceedings should not be used to

 4   “reopen discovery.” Oct. 27, 2022 Hrg. Tr. 12:4–6. Consistent with that guidance, Plaintiffs

 5   sought and obtained Google’s agreement not to use this source code for any other purpose.

 6          I understand that we agree that Google’s production of source code files is within
            the scope of responding to the Court’s Order to Show Cause, and that Plaintiffs
 7          do not intend to rely on that code for purposes other than the OSC. Google
            likewise does not intend to rely on source code for purposes other than the OSC.
 8          To the extent Plaintiffs later put the [] log at issue and claim it joins authenticated
 9          and unauthenticated data, Google reserves the right to rely on the code on which
            it has already relied in the course of responding to the OSC.
10
     McGee Decl. Ex. B (emphasis added).
11
            Google’s reliance on Exhibits 146 and 147 reneges on that agreement. While Plaintiffs’
12
     summary judgment opposition did cite this log (Dkt. 924-3 at 15; see also Dkt. 933-3 (PAF 4)),
13
     Plaintiffs did not make any arguments or submit any evidence about the source code.
14
     Consequently, Google should not be allowed to rely on Broome Exhibits 146 and 147 at summary
15
     judgment and trial.
16
            Plaintiffs have been prejudiced. While their consultant was able to review the same source
17
     code, Plaintiffs’ testifying expert, Jonathan Hochman, was deprived of the opportunity to serve
18
     a supplemental report addressing this log, as well as other material that Google was sanctioned
19
     for concealing. Relatedly, Plaintiffs have not had any opportunity to question Dr. Psounis (or any
20
     Google employee) about this log. Google should now be held responsible for its strategic
21
     decisions to forestall Plaintiffs’ efforts to conduct meaningful discovery.
22
            Alternatively, the Court should refuse to consider these exhibits because Google did not
23
     cite them in its opening brief. “[P]resenting new information in a reply is improper and deprives
24
     the opposing party of an opportunity to respond.” Ramirez v. Bank of Am., N.A., 2022 WL
25
     17482039, at *7 (N.D. Cal. Oct. 7, 2022) (Gonzalez Rogers, J.) (citing Tovar v. U.S. Postal Serv.,
26

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 1   3 F.3d 1271, 1273 n. 2 (9th Cir. 1993)). This Court should “decline[] to address” Google’s

 2   arguments about these exhibits, “which should have been raised in defendant’s motion but were

 3   raised for the first time in defendant’s Reply.” Id. Google’s opening brief included arguments

 4   about whether private browsing data is “unidentified.” Dkt. 907-3 at 23; Dkt. 933-3 (SUF 56,

 5   64). Google did not cite Exhibits 146 and 147 in support of those arguments, thus depriving

 6   Plaintiffs of an opportunity to address them.

 7          In any event, Exhibits 146 and 147 only underscore why summary judgment is improper.

 8   Although Plaintiffs are not required to prove that private browsing data is identifying (Dkt. 924-

 9   3 at 3, 22), these exhibits at most demonstrate there is a triable issue of fact on that question.

10   Plaintiffs have identified evidence that “private browsing data is identifying,” relying on Google

11   employee admissions and expert data analysis. Dkt. 933-3 (PAF 24-25). If legally relevant, the

12   jury can weigh the parties’ competing evidence to decide whether the data is identifying, guided

13   by the Sanctions Orders’ jury instruction: “The jury may infer from Google’s failure to disclose

14   these data sources that they are not helpful to Google.” Dkt. 898 at 12-13 (emphasis added).

15   Against that backdrop, a jury could easily find that the data is identifying, particularly where

16   Google employees admit that “we would never sa[y] that Google doesn’t know who you are

17   while you’re Incognito.” Dkt. 933-3 (PAF 24).

18   II.    CONCLUSION

19          Plaintiffs respectfully request that the Court strike (1) Google’s technical-circumvention

20   argument relating to Plaintiffs’ CDAFA claim, raised for the first time in Google’s summary

21   judgment reply (Dkt. 934 at 13), and (2) Exhibits 146 and 147 to the Supplemental Broome

22   Declaration (Dkts. 933-4, 933-5), which contains material Google promised not to rely on except

23   for purposes of the sanctions proceedings in this case.

24
     Dated: April 28, 2023                           BOIES SCHILLER FLEXNER LLP
25

26
                                                     By /s/ Mark Mao
27                                                   4
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                                   Mark C. Mao (CA Bar No. 236165)
 1                                 mmao@bsfllp.com
 2                                 Beko Reblitz-Richardson (CA Bar No. 238027)
                                   brichardson@bsfllp.com
 3
                                   Erika Nyborg-Burch (CA Bar No. 342125)
 4                                 enyborg-burch@bsfllp.com
                                   BOIES SCHILLER FLEXNER LLP
 5                                 44 Montgomery Street, 41st Floor
                                   San Francisco, CA 94104
 6                                 Telephone: (415) 293 6858
                                   Facsimile (415) 999 9695
 7

 8                                 David Boies (admitted pro hac vice)
                                   dboies@bsfllp.com
 9                                 BOIES SCHILLER FLEXNER LLP
                                   333 Main Street
10                                 Armonk, NY 10504
                                   Telephone: (914) 749-8200
11                                 Facsimile: (914) 749-8300
12                                 James W. Lee (pro hac vice)
                                   jlee@bsfllp.com
13                                 Rossana Baeza (pro hac vice)
                                   rbaeza@bsfllp.com
14
                                   BOIES SCHILLER FLEXNER LLP
15                                 100 SE 2nd Street, Suite 2800
                                   Miami, FL 33130
16                                 Telephone: (305) 539-8400
                                   Facsimile: (305) 539-1304
17
                                   Amanda Bonn (CA Bar No. 270891)
18                                 SUSMAN GODFREY L.L.P.
                                   1900 Avenue of the Stars, Suite 1400
19                                 Los Angeles, CA 90067
                                   Telephone: (310) 789-3100
20
                                   Bill Carmody (pro hac vice)
21                                 bcarmody@susmangodfrey.com
22                                 Shawn J. Rabin (pro hac vice)
                                   srabin@susmangodfrey.com
23                                 Steven Shepard (pro hac vice)
                                   sshepard@susmangodfrey.com
24                                 Alexander P. Frawley (pro hac vice)
                                   afrawley@susmangodfrey.com
25                                 SUSMAN GODFREY L.L.P.
26                                 1301 Avenue of the Americas, 32nd Floor
                                   New York, NY 10019
27                                     5
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                                    Telephone: (212) 336-8330
 11

 22                                 John A. Yanchunis (pro hac vice)
                                    jyanchunis@forthepeople.com
 33                                 Ryan J. McGee (pro hac vice)
                                    rmcgee@forthepeople.com
 44                                 MORGAN & MORGAN, P.A.
                                    201 N Franklin Street, 7th Floor
 55                                 Tampa, FL 33602
 66                                 Telephone: (813) 223-5505
                                    Facsimile: (813) 222-4736
 77
                                    Michael F. Ram, CA Bar No. 104805
 88                                 MORGAN & MORGAN
                                    711 Van Ness Ave, Suite 500
 99
                                    San Francisco, CA 94102
 10
10                                  Tel: (415) 358-6913
                                    mram@forthepeople.com
 11
11
 12
12                                  Attorneys for Plaintiffs

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